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RESUURCE REAL ESTATE SERVICES, LLC
300 Hed Brook Blvd.
Suite 300
OWEngs Mills, lle 21117
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Prepared By:
MARK JORDAN
LOANCITY
14500 AVION PARKWAY,
CHANTILLY, VA 20151'.
(703) 547-10__50-'.=.

 

 

 
  
   

Property Addr'§ss .._ ..
1332 ALI_¥P=G__,R'I' RO.AD
COATESVILL`E;. _P§ 19\3?1

I>F/ PIN 23--81615=

[Space Above This Line For Recording Data]
MORTGAGE

L'UPU

Loan#:1001910500

PlN: 2800801010500
MIN:100058310000831836

DEFINITIONS

Words used in multiple sections of this document are defined below and other words are defined in Sections
3, 11, 13, 18, 20 and 21. Certain rules regarding the usage of words used in this document are also provided
in Section 16.

(A) "Security Instrument" means this document, which is dated NOVEMBER 3, 2006 together with all
Riders to this document.

(B) "Borrower" is ADRIAN LUPU. Borrower is the mortgagor under this Security Instrument.

(C) "MERS" is Mortgage Electronic Registration Systems, Inc. MERS is a separate corporation that is
acting solely as a nominee for Lender and Lender’s successors and assigns. MERS is the mortgagee under
this Security Instrument. MERS is organized and existing under the laws of Delaware, and has an address
and telephone number of P.O. Box 2026, Flint, MI48501-2026, tel. (888) 6?'9-MERSl

(D) "Lendel'" is LOANCITY , A CALIFORNIA CORPORATION. Lendel‘ iS a C'ORPORATION
organized and existing under the laws of CALIFORNIA. Lender’s address is 5671 SANTA TERESA
BOULEVARD, SUITE 100, SA.N JOSE, CA. 95123.

(E) "Note" means the promissory note signed by Borrower and dated NOVEHBER 3, 2006. The Note
StateS that BOrrOWer OWeS Lendel' 'I'WO HU'NDRED EIGHTY-NINE THOUSAND SIX HUNDRED AND
00 / 100 Dollars (U.S. $289, 600 . 00) plus interest. Borrower has promised to pay this debt in regular
Periodic Payments and to pay the debt in full not later than DECEMBER 1 , 203 6 .

(F) "Property" means the property that is described below under the heading "Transfer of Rights in the
Property."

(G) "Loan" means the debt evidenced by the Note, plus interest, any prepayment charges and late charges

PENNSYLVANIA-Single Family-Fannie Mae/Freddie Mac UNIFORM INSTRUMENT

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Doc Code: MTG Chester County. Recorcler of Deeds Off|c:e RESOURCE ESTATE SEFMCES L|_C 11114/2006 021

 

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due under the Note, and all sums due under this Security In§_trls_!_n'e . `li_i_s_- =interest.
(H) "Riders" means all Riders to this Security Inst_i?ti`m_eni= _tfia§ a_r_e __e`xecuted by Borrower. The following
Riders are to be executed by Borrower [check box_a_s_ applicabfe]

  
 

lj Adjustable Rate Rider l;l Condominiuir¢`iE R'idei'_ l:l Second Home Rider

l___l Balloon Rider l:l Planned _U`ni_t Development Rider |:l Biweekly Payment Rider
El 1-4 Family Rider l:l Otheri(_s)__ [speeify]_ ._
(I) "Applicable Law" means all___controll`ing applicable federal state and local statutes, regulations,
ordinances and administrative ru_l_¢_is 'nd=ordiers (that have the effei§§: of law) as well as all applicable final,
non-appealable judicial opinions-.f= - _:;-
(J) "Community Associatig_n. __D`u_es,' §§es, iisid Assessment_s'- rn_eans= §_all dues, fees, assessments and other
charges that are imposed=" o_n__ Borrower or the Propei_'_t_y: .a condominium association, homeowners
association or similar organization
(K) "Electronic Fun_d_s' 'I`r=ansferf§ means any transfer_. __o_§ t?u_nds_ either than a transaction originated by check,
draft, or similar paper instrnme ',__ _which is initiated through _aii.- _Eelectronic terminal, telephonic instrument,

 

   

 

 

  
 

 

   

account. Such_=' term iiie_lud_es;= but is not l_i_mited_ §11, point-of-sale transfers, automated teller machine
transactions_,-_ _tra'n_s_fél§` =i_n_i`t1a_ted by telephone_,§` =w_ir_e= transfers __aiid automated clearinghouse transfers.

(L) "Escr'éw' "I_!_;_el'ii=s_" rn§an§ those items that ar'e described in Section 3

(M) "Miscellanet)us Proceeds" means any'- compensation settlement, award of damages, or proceeds paid
by any third pany __(c_tt'iier than insurance proceeds _p_a'td under the coverages described' m Section 5) for: (i)
damage to, or destruction of`, the Property; (ii) condemnation or other taking of all or any part of the Property;
(iii) conveyance in lien of condemnation; or (iv) misrepresentations of, or omissions as to, the value and/or
condition of the Property.

(N) "Mortgage Insurance" means insurance protecting Lender against the nonpayment of, or default on, the
Loan.

(0) "Periodic Payment" means the regularly scheduled amount due for (i) principal and interest under the
Note, plus (ii) any amounts under Section 3 of this Security Instrument.

(P) "RESPA" means the Real Estate Settlement Procedures Act (12 U.S.C. Section 2601 et seq.) and its
implementing regulation, Regulation X (24 C.F.R. Part 3500), as they might be amended from time to time,
or any additional or successor legislation or regulation that governs the same subject matter. As used in this
Security lnst.rument, "RESPA" refers to all requirements and restrictions that are imposed in regard to a
"f`ederally related mortgage loan“ even if the Loan does not qualify as a "federally related mortgage loan“
under RESPA.

(Q) "Successor in lnterest of Borrower" means any party that has taken title to the Property, whether or not
that party has assumed Borrower’s obligations under the Note and/or this Security Instrument.

TRANSFER OF RIGHTS IN THE PROPERTY

This Security Instrument secures to Lender: (i) the repayment of the Loan, and all renewals, extensions and
modifications of the Note; and (ii) the performance of Borrower’s covenants and agreements under this
Security Instrument and the Note, For this purpose, Borrower does hereby mortgage, grant and convey to
MERS (solely as nominee for Lender and Lender’s successors and assigns) and to the successors and assigns
of MERS the following described property located in the COUNTY (Type of Recording Jurisdiction) of
CHESTER (Name of Recording Jurisdiction)

LEGAL DESCRIPTION ATTACI'IED HERETO AN`D MADE A PART HEREOF.

which currently has the address of 1332 AIRPORT ROAD, COATESVILLE, Pennsylvania 19320
(“Property Address").

TOGETHER WITH all the improvements now or hereafter erected on the property, and all
easements, appurtenances, and fixtures now or hereafter a part of the property. All replacements and

PENNSYLVANIA-Single Family-Fannie Mae/Freddie Mac UNIFORM INSTRUMENT

 

 

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additions shall also be covered by this Security lnstrument.5=AElEo§ 5tl’ie§'fc1_i_’_e5g50ing is referred to in this Security
Instrument as the "Property.“ Borrower understands -:a`nd agree§ _t__h_a`l5` MERS holds only legal title to the
interests granted by Borrower in this Security lnstruri‘ienf :biit if:5` _ne`cessary to comply with law or custom,
MERS (as nominee for Lender and Lender’ s successors 5a_i_1d55 assigns) has the right: to exercise any or all of
those interests, including, but not limited to, the r_i5g5l515t__ _to.; §oretilose and sell the Property; and to take any
action required of Lender including, but not lit`n_i_§ed Eo,_ releasing and canceling this Security Instrument.

  
 

 

BORROWER COVENANTS_ _tha5 rrpwer_ js"lilwfully seised of the estate hereby conveyed and has
the right to mortgage, grant and convey :th`e__5_:P15'tiperty and that the_. _Property is unencumbered, except for
encumbrances of record. Borrowgr5\itar`i‘a_1its_and will defend genei'tilly the title to the Property against all
claims and demands, subject to ally encumbrances of record. -

 
 

THIS SECURITY="'5 INST°R.UME.NT combines un_i_ft')l'm _ovenants for national use and non-uniform
covenants with limited__ variations _b5y_ 5:f11_r5i'sdiction to constitute a__unifoi‘n'i5 security instrument covering real

property

 

UNIFO_RM5 C’OV.ENANTS Borrower and5 Lender covenant and agree as follows:

l. Payment oi§= Prinelpal Interest_,. _-Esc_i:ow- __I_t_ilmii, Prepayment Charges, and Late Charges.
Borrower shall p_ay`= when __d5u5e the principal§ 5o_t`,-. .ahtl'= interest on, the debt evidenced by the Note and any
pursuant to55 Section 35 Payments due under- _t_l5i5e- _N§)te5 and this Security Instrument shall be made in U. S.
currency. Hovifev§r _if:`5 any check or other insti"un_i_e_r_i_:t received by Lender as payment under the Note or this
Security Instrumeiit5 is returned to Lender unpaid, 5Lender may require that any or all subsequent payments
due under the Note and this Security lnstrument be made` in one or more of the following forms, as selected
by Lender: (a) cash; (b) money order; (c) certified check, bank check, treasurer’s check or cashier’s check,
provided any such check is drawn upon an institution whose deposits are insured by a federal agency,
instrumentality, or entity; or (d) Electronic Funds Transfer.

Payments are deemed received by Lender when received at the location designated in the Note or at
such other location as may be designated by Lender in accordance with the notice provisions in Section 15.
Lender may return any payment or partial payment if the payment or partial payments are insufficient to
bring the Loan current. Lender may accept any payment or partial payment insufficient to bring the Loan
current, without waiver of any rights hereunder or prejudice to its rights to refuse such payment or partial
payments in the future, but Lender is not obligated to apply such payments at the time such payments are
accepted If each Periodic Payment is applied as of its scheduled due date, then Lender need not pay interest
on unapplied funds. Lender may hold such unapplied funds until Borrower makes payment to bring the Loan
current. If` Borrower does not do So within a reasonable period of time, Lender shall either apply Such funds
or return them to Borrower. If not applied earlier, such funds will be applied to the outstanding principal
balance under the Note immediately prior to foreclosure No offset or claim which Borrower might have now
or iii the future against Lender shall relieve Borrower from making payments due under the Note and this
Security Instrument or performing the covenants and agreements secured by this Security Instrument.

2. Applicatioo of Payments or Proceeds. Except as otherwise described in this Section 2, all
payments accepted and applied by Lender shall be applied in the following order of priority: (a) interest due
under the Note; (b) principal due under the Note; (c) amounts due under Section 3. Such payments shall be
applied to each Periodic Payment in the order in which it became due. Any remaining amounts shall be
applied first to late charges, second to any other amounts due under this Security Instrument, and then to
reduce the principal balance of the Note.

lf Lender receives a payment from Borrower for a delinquent Periodic Payment which includes a
sufficient amount to pay any late charge due, the payment may be applied to the delinquent payment and the
late charge. If more than one Periodic Payment is outstanding, Lender may apply any payment received from
Borrower to the repayment of the Periodic Payments if, and to the extent that, each payment can be paid in
full. To the extent that any excess exists after the payment is applied to the full payment of one or more
Periodic Payments, such excess may be applied to any late charges due. Voluntary prepayments shall be

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applied first to any prepayment charges and then as described lnii .

Any application of payments, insurance proc_eéds, o'r_ M_rsc_p__l_ aneous Proceeds to principal due under
the Note shall not extend or postpone the due date, or ch§;_n'ig_e tih_e amo'iiint, of the Periodic Payments.

3. Funds for Escrow Items. Borrower_- _siliall_!- §paiy__ td= -Ii_ie_nider on the day Periodic Payments are due
under the Note, until the Note is paid m full, a suim= _Iitilii'e_ "Funds") to provide for payment of amounts due for:
(a) taxes and assessments and other items which =c_a'r:. attain= priority over this Security lnst.rument as a lien or
encumbrance on the Property; (b) leasehgid' payments "o'ir _g!found rents on the Property, if any; (c) premiums
for any and all msurance required by l_._eiid_ei _iir'nd ii Section 5; and (d) Mortgage Insurance premiums, if any,
or any sums payable by Borrower _t__oi. Lender -irr=l__1eiil of the payment of Mortgage Insurance premiums in
accordance with the provisions of_ Secilon _ilG-,: :These" items are calle_t_fi "Escrow Items. " _At origination or at any
time during the term of the L_<i)ian_;_ _= _____
Assessments, if any, be escrowe_d' l;t_yi Bo=rrower, and such due_s_,;= lidd_si_ iaincili: assessments shall be an Escrow Item
Borrower shall promptly fumis_ tdi= Leind_er all notices of_ amounts i`te_ _bé=- -paid under this Section. Borrower
shall pay Lender the Fund_s f_i_oii‘i E_sci¢piw_ litiems unless Le_nilet;' `w_aiii'es Bibirrbwer’ s obligation to pay the Funds
for any or all Escrow_ -ItemiS_ Le__ndier imaiy waive Borrow_eit"- s_ _dibil_t_giation to pay to Lender Funds for any or all
Escrow ltems at ang/___ timeii.= =Anyi istic_:itii waiver may p=iiliy__ iliaié`- 'i_r'i= writing In the event of such waiver, Borrower
shall pay directly,j iwhie'ni anid'- =wlib'li‘ie payable, the amounts dil,ti:i' i`_l;rl'i any Escrow Items for which payment of
Funds has beep' iw_dived== by_ ._L_eil;tider and, if Le_t_l_der__ requires shall furnish to Lender receipts evidencing such
payment within s_uc'h_ ti.mio_ period as Lender_=i m_ay_ require i`B_p'rrower’ s obligation to make such payments and

 

    

Instrumentii ia_s_ iill'ze_i __iihrase' 'covenant and agreemeni" is used m Section 9. lf Borrower is obligated to pay
Escrow Itemsi directh pursuant to a waiver, aind_ _I_z_pri'iower fails to pay the amount due for an Escrow Item,
Lender may exercise its nights under Section 9 ainid pay such amount and Borrower shall then be obligated
under Section 9 to repay to Lender any such amount. Lender may revoke the waiver as to any or all Escrow
Items at any time by a notice given in accordance with Section 15 and, upon such revocation, Borrower shall
pay to Lender all Funds, and in such amounts, that are then required under this Section 3.

Lender may, at any time, collect and hold Funds in an amount (a) sufficient to permit Lender to
apply the Funds at the time specified under RESPA, and (b) not to exceed the maximum amount a lender can
require under RESPA. Lender shall estimate the amount of Funds due on the basis of current data and
reasonable estimates of expenditures of future Escrow Items or otherwise in accordance with Applicable
Law.

The Funds shall be held in an institution whose deposits are insured by a federal agency,
instrumentality, or entity (including Lender, if Lender is an institution whose deposits are so insured) or in
any Federal Home Loan Bank. Lender shall apply the Funds to pay the Escrow Items no later than the time
specified under RESPA. Lender shall not charge Borrower for holding and applying the Funds, annually
analyzing the escrow account, or verifying the Escrow Items, unless Lender pays Borrower interest on the
Funds and Applicable Law permits Lender to make such a charge. Unless an agreement is made in writing or
Applicable Law requires interest to be paid on the Funds, Lender shall not be required to pay Borrower any
interest or earnings on thc Funds. Borrower and Lender can agree in writing, however, that interest shall be
paid on the Funds. Lender shall give to Borrower, without charge, an annual accounting of the Funds as
required by RESPA.

If there is a surplus of Funds held in escrow, as defined under RESPA, Lender shall account to
Borrower for the excess funds in accordance with RESPA. lf there is a shortage of Funds held in escrow, as
defined under RESPA, Lender shall notify Borrower as required by RESPA, and Borrower shall pay to
Lender the amount necessary to make up the shortage in accordance with RESPA, but in no more than 12
monthly payments If there is a deficiency of Funds held in escrow, as defined under RESPA, Lender shall
notify Borrower as required by RESPA, and Borrower shall pay to Lender the amount necessary to make up
the deficiency in accordance with RESPA, but in no more than 12 monthly payments

Upon payment in full of all sums secured by this Security Instrument, Lender shall promptly refund
to Borrower any Funds held by Lender.

4. Charges; Liens. Borrower shall pay all taxes, assessments, charges, fines, and impositions
attributable to the Property which can attain priority over this Security lnstrument, leasehold payments or

PENNSYLVANIA-Single Family-Fannie Mae/Freddie Mac UNIFORM INSTRUMENT

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ground rents on the Property, if any, and Community Associatiori iDuie ,. ._F_eieis, and Assessments, if any. To the
extent that these items are Escrow ltems, Borrower shai=lipayit_hem1_1_1___thieimanner provided in Section 3.
Borrower shall promptly discharge any lie_n_ iwl_i_icih;_ has pi_"io`rity over this Security Instrument unless

Borrower: (a) agrees

in writing to the payment of t ei obligation secured by the lien 111 a manner acceptable to

Lender, but only so long as Borrower` 1s perforrnlngi` silc_h_- agreement (b) contests the lien` in good faith by, or

defends against enfo
the enforcement of

rcement of the lien in, _.l'e'g_ai¥. proceedings Which in Lender’ s opinion operate to prevent
the lien while those= proceedings a_r`e pending, but only until such proceedings are

concluded; or (c) secures from the ho_l_der_ .oif_ _ii~'ie_ lien 'a'i'ii agreement satisfactory to Lender subordinating the
lien to this Security Instrument. If Lei.i=a_i_eti’- determines that any part _Q.f_` the Property is subject to a lien which

can attain priority over this Secu_r:i

_ nstrufnent li.iender may give iBorrower a notice identifying the lien

 

 

of the actions set forth above __in. _t_li’is_ §iee_t`iibn i4ii=ii
Lender may requir'é B mower= -t_o pay a one- -tim_eii
reporting service used by li.eni er 1_r1 ie_oi‘ineiction with this_ _Liioaj

5. Property

 
 
  

 

_ge"for ia==_real estate tax verification and/or

lowrance Borirower shall keep _tl_l_e improvements now existing or hereafter erected on

the Property insure_d_ against foss by__ fli.re, hazards in_t_:liideidii `w_itt_tiri' the term "extended coverage, " and any other

hazards including, biu`ti 'niot limited to, earthquakeis aiii'idi floods ._f`ici)r which Lender requires insurance This

insurance shall§i li)'e_ maintained in the amounts (inela;iding__ deductible levels) and for the periods that Lender
requires. Wh_at henderrequires pursuant to t_liie__ _pre`ce`di__n`g sentences can change during the term of the Loan.
The insura`_nci`e._ cat'-r_ier‘.. piro*viiding the insurance shalli :_biei` "éiliiosen by Borrower subject to Lender’ s right to
disapprove Borrower s:ichoice, which right shalli `ng_t_= ibie exercised unreasonably Lender may require Borrower
to pay, in connection -vivith this Loan, either: (zi)= a_ __t_)_ne` itime charge for flood zone determination, certification
and tracking services; or (b) a one- -time charge for flood zone determination and certification services and

subsequent charges

each time remappings or similar changes occur which reasonably might affect such

determination or certification Borrower shall also be responsible for the payment of any fees imposed by the
Federal Emergency Management Agency in connection with the review of any flood zone determination

resulting from an obj

ection by Borrower.

If Borrower fails to maintain any of the coverages described above, Lender may obtain insurance
coverage, at Lender’s option and Borrower’s expense Lender is under no obligation to purchase any
particular type or amount of coverage Therefore, such coverage shall cover Lender, but might or might not
protect Borrower, Borrower’s equity in the Property, or the contents of the Property, against any risk, hazard

or liability and mi

ght provide greater or lesser coverage than was previously in effect Borrower

acknowledges that the cost of the insurance coverage so obtained might significantly exceed the cost of
insurance that Borrower could have obtained Any amounts disbursed by Lender under this Section 5 shall
become additional debt of Borrower secured by this Security Instrument. These amounts shall bear interest at
the Note rate from the date of disbursement and shall be payable, with such interest, upon notice from Lender
to Borrower requesting payment

All insurance policies required by Lender and renewals of such policies shall be subject to Lender’s

right to disapprove
mortgagee and/or as

such policies, shall include a standard mortgage clause, and shall name Lender as
an additional loss payee. Lender shall have the right to hold the policies and renewal

certificates If Lender requires, Borrower shall promptly give to Lender all receipts of paid premiums and
renewal notices. If Borrower obtains any form of insurance coverage, not otherwise required by Lender, for
damage to, or destruction of, the Property, such policy shall include a standard mortgage clause and shall
name Lender as mortgagee and/or as an additional loss payee

In the event of loss, Borrower shall give prompt notice to the insurance carrier and Lender, Lender
may make proof of loss if not made promptly by Borrower. Unless Lender and Borrower otherwise agree in
writing, any insurance proceeds, whether or not the underlying insurance was required by Lender, shall be
applied to restoration or repair of the Property, if the restoration or repair is economically feasible and
Lender’s security is not lessened During such repair and restoration period, Lender shall have the right to
hold such insurance proceeds until Lender has had an opportunity to inspect such Property to ensure the work

has been completed

to Lender’s satisfaction, provided that such inspection shall be undertaken promptly.

Lender may disburse proceeds for the repairs and restoration in a single payment or in a series of progress

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payments as the work is completed Unless an agreement:is§:rp de iin _w'riiting or Applicable Law requires
interest to be paid on such insurance proceeds, Lende_r_=ishalliridt§ibe__regtiiiired to pay Borrower any interest or
earnings on such proceeds. Fees for public adjusters,_ lit=_othgriithiri§liipia'iities, retained by Borrower shall not be
paid out of the insurance proceeds and shall be thiiiisiiciil_e ibbliga_iiprii of Borrower. If the restoration or repair is
not economically feasible or Lender’s security lisbu_lidili)e_=lsss_t_:seidi, the insurance proceeds shall be applied to
the sums secured by this Security Instrurr_i_ent_, iwli‘le_theit_‘ ciri_r iiiiot then due, with the excess, if any, paid to
Borrower. Suchi insurance proceeds shall be_ applied 1_ni ithirie_ __oirder provided form Section 2.

lf Borrower abandons the Pr_spici:rty,__ lender may file, negotiate and settle any available insurance
claim and related matters lf Borrower do_e'si` poit= r__es'pond within 3()_ da_ys to a notice from Lender that the
insurance carrier has offered to_ settle =c,lai.m, thciiii Lender may negotiate and settle the claim The 30- day

 

Borrower’ s rights (other thariti tilte__ iii'iigh‘t__ tip any refund o_fi unearned pii'ii:mlums paid by Borrower) under all
insurance policies cogsi’ing'_ _thie_ __Propeirty,i insofar as su_c_l_i rights ale applicable to the coverage of the Property,
Lender may use the insurance pitio_e_li=,ieds either to repa_._iir ior'= rpsito_re the Property or to pay amounts unpaid
under the Note sr- -_thisi 'Seiemi~iity__ iI'i`i'istirument, whetherii ori inio't_ .t_hiégii d_t_iei.

6. Occ'uptuicy. =B_o_rrsiwer shall occ_i_ipy,__ iie_stiab_lish, timd use the Property as Borrowers principal
residence w_i_thiiin__ _60-. __<_i.‘;a_§_{_s= __a_iftieir the e_xecutisrit _s»f._ tihiis_- Security Instrument and shall continue to occupy the
otherwise agrees _i_tiii lii'ritiing, which conseiit_ shall nbt be unreasonably withheld, or unless extenuating
circumstancesi iex__isit_ w-]iich are beyond Borrowli'r=’ s_ _c_o_nti'ol.

7. Preseirviation, Maintenance and Proitiéction of the Property; Inspections. Borrower shall not
destroy, damage or impair the Property, allow the Property to deteriorate or commit waste on the Property.
Whether or not Borrower is residing in the Property, Borrower shall maintain the Property in order to prevent
the Property from deteriorating or decreasing in value due to its condition Unless it is determined pursuant to
Section 5 that repair or restoration is not economically feasible, Borrower shall promptly repair the Property
if damaged to avoid further deterioration or damage. lf insurance or condemnation proceeds are paid in
connection with damage to, or the taking of, the Property, Borrower shall be responsible for repairing or
restoring the Property only if Lender has released proceeds for such purposes Lender may disburse proceeds
for the repairs and restoration in a single payment or in a series of progress payments as the work is
completed If the insurance or condemnation proceeds are not sufficient to repair or restore the Property,
Borrower is not relieved of Borrower’s obligation for the completion of such repair or restoration

Lender or its agent may make reasonable entries upon and inspections of the Property, If it has
reasonable cause, Lender may inspect the interior of the improvements on the Property. Lender shall give
Borrower notice at the time of or prior to such an interior inspection specifying such reasonable cause.

8. Borrower’s Loan Application. Borrower shall be in default if, during the Loan application
process, Borrower or any persons or entities acting at the direction of Borrower or with Borrower’s
knowledge or consent gave materially false, misleading, or inaccurate information or statements to Lender (or
failed to provide Lender with material information) in connection with the Loan. Material representations
include, but are not limited to, representations concerning Borrower’s occupancy of the Property as
Borrower’s principal residence.

9. Protection of Lender’s Interest in the Property and Rights Under this Security Instrument.
If (a) Borrower fails to perform the covenants and agreements contained in this Security Instrument, (b) there
is a legal proceeding that might significantly affect Lender’s interest in the Property and/or rights under this
Security Instrument (such as a proceeding in bankruptcy, probate, for condemnation or forfeiture, for
enforcement of a lien which may attain priority over this Security lnstrument or to enforce laws or
regulations), or (c) Borrower has abandoned the Property, then Lender may do and pay for whatever is
reasonable or appropriate to protect Lender’s interest in the Property and rights under this Security
Instrument, including protecting and/or assessing the value of the Property, and securing and/or repairing the
Property. Lender’s actions can include, but are not limited to: (a) paying any sums secured by a lien which
has priority over this Security Instrument; (b) appearing in court; and (c) paying reasonable attorneys’ fees to

PENNSYLVANIA-Single Family-Farinie MaefFreddie Mac UNIFORM [NSTRUMENT
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protect its interest in the Property and/or rights under this Security Instrument including its secured position
in a bankruptcy proceeding Securing the Property ir_t_eludesi;_ biuiti-'i 1s_ n_stiiiimited to, entering the Property to
ma_ke_ repairs, change locks, 1_‘ep1ace or board up d_pior_s_ ia_r_t_c_li= windows drain water from pipes, eliminate

   
 

Lender may take action under this Section 9, Lender idO.G_S= _ ==

obligation to do so. It is agreed that Lender_= -i=ncitrsi' -1_10 lrabrhty for not taking any or all actions authorized

under this Section 9. iiii
Any amounts disbursed by Lsniii __

secured by this Security Instrument_ ='il`hieis_ei' amounts shall bear int§_rest at the Note rate from the date of

disbursement and shall be payab_l_e th _sue_l_t intii,irest, upon noti'ti:itizi. from Lender to Borrower requesting

payment

 

      

If this Security Instrt_rniitiiin§t_ 15 pti a iiiliezisiehold, Borrov\tiir: _isih'all comply with all the provisions of the
lease. Borrower shall not surrender she ileasehoid estate an__d' interests herein conveyed or terminate or cancel
the ground lease. Borrovta§:r §sili'iia-‘r1_iriiqifi,==_without the exp_r_eisis._ :_tir_r_'iti:ien cdit,si>,int of Lender, alter or amend the
ground lease If Borrg=iiier' acqu1res fiii_eei ititle to the Property, ith_s_= leasehold and the fee title shall not merge
unless Lender agree_s___ tio=t_l'iiéi: -Ine_r_g iii 1_11= iwriting _

10. Mortgage insurance If Lender reqililir_e_ M_o __gagiiii Insurance as a condition of making the
Loan, Borrow_qrii she-11 pay __tl_t_eii premiums reqt_l__i_red__ itio iinainit.aiis the Mortgage Insurance in effect. If, for any
reason, the Mortgage ifnstirr_z_iriicie coverage req_r'iir_e_t;l_- by' =Leiriider_’__i ceases to be available from the mortgage insurer
that previois_siliy_ _pri'ioy_ided suiti:hi insurance and_ _Béirroweir__ .iiiias'i irequired to make separately designated payments
toward the piren'itiiu:r_pis tier Mortgage Insurancie_ liiSQ_r_'r_iiwpr shall p_ay the premiums required to obtain coverage
substantially eqmvalent to the Mortgage lnsuiiian_ciei __préviously` in effect, at a cost substantially equivalent to
the cost to Borroiwier of the Mortgage Insuranceii previously in effect, from an alternate mortgage insurer
selected by Lender. If substantially equivalent Mortgage Insurance coverage is not available, Borrower shall
continue to pay to Lender the amount of the separately designated payments that were due when the
insurance coverage ceased to be in effect Lender will accept, use and retain these payments as a non-
refundable loss reserve in lieu of Mortgage Insurance. Such loss reserve shall be non-refi.lndable,
notwithstanding the fact that the Loan is ultimately paid in full, and Lender shall not be required to pay
Borrower any interest or earnings on such loss reserve. Lender can no longer require loss reserve payments if
Mortgage Insurance coverage (in the amount and for the period that Lender requires) provided by an insurer
selected by Lender again becomes available, is obtained, and Lender requires separately designated payments
toward the premiums for Mortgage lnsurance. If Lender required Mortgage Insurance as a condition of
making the Loan and Borrower was required to make separately designated payments toward the premiums
for Mortgage Insurance, Borrower shall pay the premiums required to maintain Mortgage Insurance in effect,
or to provide a non-refundable loss reserve, until Lender’s requirement for Mortgage Insurance ends in
accordance with any written agreement between Borrower and Lender providing for such termination or until
termination is required by Applicable Law. Nothing in this Section 10 affects Borrower’s obligation to pay
interest at the rate provided in the Note.

Mortgage Insurance reimburses Lender (or any entity that purchases the Note) for certain losses it
may incur if Borrower does not repay the Loan as agreed. Borrower is not a party to the Mortgage Insurance.

Mortgage insurers evaluate their total risk on all such insurance in force from time to time, and may
enter into agreements with other parties that share cr modify their risk, or reduce losses. These agreements
are on terms and conditions that are satisfactory to the mortgage insurer and the other party (or parties) to
these agreements These agreements may require the mortgage insurer to make payments using any source of
funds that the mortgage insurer may have available (wbich may include funds obtained from Mortgage
Insurance premiums).

As a result of these agreements, Lender, any purchaser of the Note, another insurer, any reinsurer,
any other entity, or any affiliate of any of the fcregoing, may receive (directly or indirectly) amounts that
derive from (or might be characterized as) a portion of Borrower’s payments for Mortgage Insurance, in
exchange for sharing or modifying the mortgage insurer’s risk, or reducing losses. lf such agreement provides
that an affiliate of Lender takes a share of the insurer’s risk in exchange for a share of the premiums paid to
the insurer, the arrangement is often termed "captive reinsurance." Further:

 

PENNSYLVANIA-Single Family-Fannie Mae/Freddie Mac UNIFORM INSTRUMENT
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(a) Any such agreements will not affect t_hie- amicun=ts_t t Borrower has agreed to pay for
Mortgage Insurance, or any other terms of the _L__oiia11. iS__uéh agreements will not increase the amount
Borrower will owe for Mortgage Insurance, an__d they wi_l_l iii'ii_)ii _e_rittitle Borrower to any refund.

(b) Any such agreements will not aflipctg _tiliiie _rigistt_s_ i_Bioirrower has - if any- with respect to the
Mortgage Insurance under the Homeown_er"s. __Piroitieptipn iiAciiti ioli 1998 or any other low. These rights may
include the right to receive certain disclosures=' toii 'i'ie_qiiiiest and obtain cancellation of the Mortgage
Insurance, to have the Mortgage Insuriii\nisie _iferririu.pii'ltei:li automatically, and/or to receive a refund of any
Mortgage Insurance premiums tha_t_=iweiiie_ unearned at the time of_ such cancellation or termination.

ll. Assignment of Miseeiiiiiit 'ous= Proceeds, Forfeiture-.ii All Miscellaneous Proceeds are hereby
assigned to and shall be paid to L_éititd_i:i:i -- __

If the Property is damaged iisu_ch ]Viiiisciillaneous Proceisid;s_ siliali.= b_e applied to restoration or repair of
the Property, if the restoration _or 'ii'epiai_ri is. _economically feasibiiid- ainid' iil.epider’ s security is not lessened During
such repair and restoration pisirii<';td, iLiin_de'r shall have theii 111th itio hoi[id- -:sii.ich Miscellaneous Proceeds until
Lender has had an opportunity t_o __,ins_ipect such Propei_'_t51__iiii_eiiiisi1_re the work has been completed to Lender’ s
satisfaction,_ provid_e_t_l__ _t_ih__i_i_tii sss_ch_ inspection shal1 be undertaken _piro_r_nptly. Lender may_ pay for the repairs and

     

agreement is insidei 111_ __W1'1_t-ii_1g___ oir Applicable L_aw- requires iirsteresiti to be paid on such Miscellaneous Proceeds,
Lender sha11-_noit=_`1)ti:i'req11_ii'e_1_i tici) pay Borrowe_iii a_r_iy_- -iinter__eisiitii or _eiamings on such Miscellaneous Proceeds. If the
restoratiori§ ior c;epiziiir is. _nibt= -iéconomically fedisibiile oig= Lender s security would be lessened, the Miscellaneous
Proceeds shidl_l_ bia __applied to the sums secureid_ _li>iy_ 1h35 Security Instrument, whether or not then due, with the
excess, if any, ipa_i_d__ _t_o' Borrower. Such Miscellan§_ops' Proceeds shall be applied 111 the order provided for in
Section 2

In the event of a total taking, destruction, or loss in value of the Property, the Miscellaneous
Proceeds shall be applied to the sums secured by this Security Instrument, whether or not then due, with the
excess, if any, paid to Borrower.

In the event of a partial taking, destruction, or loss in value of the Property in which the fair market
value of the Property immediately before the partial taking, destruction, or loss in value is equal to or greater
than the amount of the sums secured by this Security Instrument immediately before the partial taking,
destruction, or loss in value, unless Borrower and Lender otherwise agree in writing, the sums secured by this
Security Instrument shall be reduced by the amount of the Miscellaneous Proceeds multiplied by the
following fraction: (a) the total amount of the sums secured immediately before the partial taking,
destruction, or loss in value divided by (b) the fair market value of the Property immediately before the
partial taking, destruction, or loss in value. Any balance shall be paid to Borrower.

Iri the event of a partial taking, destruction, or loss in value of the Property in which the fair market
value of the Property immediately before the partial taking, destruction, or loss in value is less than the
amount of the sums secured immediately before the partial taking, destruction, or loss in value, unless
Borrower and Lender otherwise agree in writing, the Miscellaneous Proceeds shall be applied to the sums
secured by this Security Instrument whether or not the sums are then due.

If the Property is abandoned by Borrower, or if, after notice by Lender to Borrower that the
Opposing Party (as defined in the next sentence) offers to make an award to settle a claim for damages,
Borrower fails to respond to Lender within 30 days after the date the notice is given, Lender is authorized to
collect and apply the Miscellaneous Proceeds either to restoration or repair of the Property or to the sums
secured by this Security liistrument, whether or not then due, “Opposing Party" means the third party that
owes Borrower Miscellaneous Proceeds or the party against whom Borrower has a right of action in regard to
Miscellaneous Proceeds.

Borrower shall be in default if any action or proceeding, whether civil or criminal, is begun that, in
Lender’s judgment, could result in forfeiture of the Property or other material impairment of Lender’s interest
in the Property or rights under this Security Instrument. Borrower can cure such a default and, if acceleration
has occurred, reinstate as provided in Section 19, by causing the action or proceeding to be dismissed with a
ruling that, in Lender’s judgment, precludes forfeiture of the Property or other material impairment of
Lender’s interest in the Property or rights under this Security Instrument. The proceeds of any award or claim

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for damages that are attributable to the impairment of Lender“s
and shall be paid to Lenderl

All Miscellaneous Proceeds that are not appihed o 'r_est_o'ration or repair of the Property shall be
appliedi 111 the order provided fori in Section 2. __ _.

12. Borrower Not Released; Forbear-§sn_ciie 'lii_y-. iLepisleri'i Not a Waiver. Extension of the time for
payment or modification of amortization of _the _5'11rris_ _seciuri§di ibiy this Security Instrument granted by Lender
to Borrower or any Successori in lnterest of 13111ri'io111'e1' isihial_l. iriiot operate to release the liability of Borrower or
any Successors in lnterest of Borrowe_r_.- 'iL§nid§i' _shalli not ibe required to commence proceedings against any
Successor in lnterest of Borrower os'__ __tfiui_ _réiii,_isiei: _toi iex_ti§'nd time for pa_y_sment or otherwise modify amortization
of the sums secured by this Secur_'113i7i histrumcnt byii reason of any d§iii'1and made by the original Borrower or
any Successors in lnterest of Borrower i'A_siy'E: forbearance by_l.._e_r_ider in exercising any right or remedy
including, without limitation JLender s. __a'ciceptai‘iitce of payme_r_itii f_ro_r_ii third persons, entities or Successors in
lnterest of Borrower or in _ariito ts_ii lesi§=than the amount _tsh§ _11_e, shall __r_iot be a waiver of or preclude the
exercise of any right or rensediy. =_ _.- ' -:ii -'

13. Joint anq: cheral_Lrabilrty, Co_-si_gner_s_,_ Successors and Aissigns Bound. Borrower covenants

   

ii -eriri§ist irriiithe Property are hereby assigned

  

  

    

 

co- signs this Ser1_u11tiyi Instruirrenfibut does not execssite§ iitihie Note (a_= ii'co- -signer"): (a) is co- -signing this Security
Instrument onIyii fe _ii=11_)rt=g_ag11,_ _giirant and convey =the_i 110-signer s interest in the Property under the terms of this
Security Instrument -_(ib)__ _i's_ __r_iot personally ol:_\§iig_aterili tio- __p_ay i_t_l_1ei sums secured by th_is Security lnstrument; and

accommodations with :ireigard to the terms ofi_ this__ Security Instrument or the Note without the co-signer’ s
consent.

Subject itici)ii iitihe provisions of Sectionii iilii§,ii iany Successor in lnterest of Borrower who assumes
Borrower’s obligations under this Security Instrument in writing, and is approved by Lender, shall obtain all
of Borrower’s rights and benefits under this Security Instrument. Borrower shall not be released from
Borrower’s obligations and liability under this Security Instrument unless Lender agrees to such release in
writing. The covenants and agreements of this Security Instrument shall bind (except as provided in Section
20) and benefit the successors and assigns of Lender,

14. Loan Charges. Lender may charge Borrower fees for services performed in connection with
Borrower’s default, for the purpose of protecting Lender’s interest in the Property and rights under this
Security Instrument, including, but not limited to, attorneys’ fees, property inspection and valuation fees. In
regard to any other fees, the absence of express authority in this Security Instrument to charge a specific fee
to Borrower shall not be construed as a prohibition on the charging of such fee. Lender may not charge fees
that are expressly prohibited by this Security Instrument or by Applicable Law.

If the Loan is subject to a law which sets maximum loan charges, and that law is finally interpreted
so that the interest or other loan charges collected or to be collected in connection with the Loan exceed the
permitted limits, then: (a) any such loan charge shall be reduced by the amount necessary to reduce the
charge to the permitted limit; and (b) any sums already collected from Borrower which exceeded permitted
limits will be refunded to Borrower. Lender may choose to make this refund by reducing the principal owed
under the Note or by making a direct payment to Borrower. If a refund reduces principal, the reduction will
be treated as a partial prepayment without any prepayment charge (whether or not a prepayment charge is
provided for under the Note). Borrower’s acceptance of any such refund made by direct payment to Borrower
will constitute a waiver of any right of action Borrower might have arising out of such overchargel

15. Notices. All notices given by Borrower or Lender in connection with this Security Instrument
must be in writing. Any notice to Borrower in connection with this Security Instrument shall be deemed to
have been given to Borrower when mailed by first class mail or when actually delivered to Borrower’s notice
address if sent by other means. Notice to any one Borrower shall constitute notice to all Borrowers unless
Applicable Law expressly requires otherwise The notice address shall be the Property Address unless
Borrower has designated a substitute notice address by notice to Lender. Borrower shall promptly notify
Lender of Borrower’s change of address, lf Lender specifies a procedure for reporting Borrower’s change of
address, then Borrower shall only report a change of address through that specified procedure. There may be
only one designated notice address under this Security Instrument at any one time. Any notice to Lender shall

PENNSYLVANlA“Single Family-Fannie Mae/Freddie Mac UNIFORM INSTRUMENT
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be given by delivering it or by mailing it by first class mail to§ L__ 'de s___address stated herein unless Lender
has designated another address by notice to Borrower __A"iiy noticei' in_ _co_aiiiection with this Security Instrument
shall not be deemed to have been given to Lender until' acti`la_lly_ received by Lender. lf any notice required by
this Security Instrument is also required under Ap` _a_'blii= ,Lir`wi=t_he Applicable Law requirement will satisfy
the corresponding requirement under this Security Instrument ==.

16. Governing Law; Severability=§:E =R`il__le`s. of_= C”`_onstruction. This Security Instrument shall be
governed by federal law and the law of_ =tl`fe. _]ui'isdrction .i`n which the Property is located. All rights and
obligations contained in this Security' lnstrument: are" subject to any requirements and limitations of
Applicable Law. Applicable Law m_i_g'.h_t explicitly __or`i implicitly allow the parties to agree by contract or it
might be silent, but such silence shall cit=.be: i;'onstrii'ed as a prohibition against agreement by contract In the
event that any provision or clause" ofthrs= -§ee_uiiity Instrument or_ _t_he_'l_~_ld_te conflicts with Applicable Law, such
conflict shall not affect othe_r. _p_r_ovi_sii)n_s` of this Security Instrument ot;_ _the Note which can be given effect
without the conflicting provision ._ --. =-

As used in this S_ec`urit'y_ Instrument (a) words' ot`§` _`tl_ie masculine gender shall mean and include
corresponding neuter_ vii=o_rits ii_r__ _w§ords of the femini_r_i_e_ gender, =(b) words in the singular shall mean and
include the plural a_nd vic " and (c) the word may" `gi`ves s'o_l_e discretion without any obligation to take
any action. " "=
17. B_p'i' wer'*-’§s_-- Q_opy. Borrower shall
lnstrument._.= __ .=i' -i
18. Transfer‘:o -=tlie Property or 'a enel;icial liiierest in Borrower. As used 111 this Section lS,
"Interest in thi_e Properiy" means any legal or= beneficial interest in the Property, including, but not limited to,
those beneficial._ interests transferred in a boii'd_ ._f_`o_r_ -'deed, contract for deed, installment sales contract or
escrow agreement, the intent of which' is the transfer of title by Borrower at a future date to a purchaser.

lf all or any part of the Property or any lnterest in the Property is sold or transferred (or if Borrower
is not a natural person and a beneficial interest in Borrower is sold or transferred) without Lender’s prior
written consent, Lender may require immediate payment in full of all sums secured by this Security
Instrument. However, this option shall not be exercised by Lender if such exercise is prohibited by
Applicable Law.

If Lender exercises this option, Lender shall give Borrower notice of acceleration The notice shall
provide a period of not less than 30 days from the date the notice is given in accordance with Section 15
within which Borrower must pay all sums secured by this Security Instrument. If Borrower fails to pay these
sums prior to the expiration of this period, Lender may invoke any remedies permitted by this Security
Instrument without further notice or demand on Borrower.

19. Borrower’s Right to Reinstate After Acceleration. lf Borrower meets certain conditions,
Borrower shall have the right to have enforcement of this Security Instrument discontinued at any time prior
to the earliest of: (a) five days before sale of the Property pursuant to any power of sale contained in this
Security Instrument; (b) such other period as Applicable Law might specify for the termination of Borrower’s
right to reinstate; or (c) entry of a judgment enforcing this Security Instrument. Those conditions are that
Borrower: (a) pays Lender all sums which then would be due under this Security Instrument and the Note as
if no acceleration had occurred; (b) cures any default of any other covenants or agreements; (c) pays all
expenses incurred in enforcing this Security lnstrument, including, but not limited to, reasonable attomeys’
fees, property inspection and valuation fees, and other fees incurred for the purpose of protecting Lender’s
interest in the Property and rights under this Security Instrument; and (d) takes such action as Lender may
reasonably require to assure that Lender’s interest in the Property and rights under this Security Instrument,
and Borrower’s obligation to pay the sums secured by this Security Instrument, shall continue unchanged
Lender may require that Borrower pay such reinstatement sums and expenses in one or more of the following
forms, as selected by Lender: (a) cash; (b) money order; (c) certified check, bank check, treasurer’s check or
cashier’s check, provided any such check is drawn upon an institution whose deposits are insured by a federal
agency, instrumentality or entity; or (d) Electronic Funds Transfer. Upon reinstatement by Borrower, this
Security Instrument and obligations secured hereby shall remain fully effective as if no acceleration had
occurredl However, this right to reinstate shall not apply in the case of acceleration under Section 18.

20. Sale of Note; Change of Loan Servicer; Notice of Grievance. The Note or a partial interest in

 

 

     

    

e'given Eonel copy of the Note and of this Security

  
    

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